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10   UNITED STATES OF AMERICA
11                          UNITED STATES DISTRICT COURT
12                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
13   UNITED STATES OF AMERICA,               No. SA CR 21-41-JVS

14             Plaintiff,                    GOVERNMENT’S OPPOSED EX PARTE
                                             APPLICATION FOR A PROTECTIVE ORDER
15                   v.                      REGARDING DISCOVERY CONTAINING
                                             CONFIDENTIAL INFORMANT/COOPERATING
16   EDWARD KIM,                             WITNESS INFORMATION, PERSONAL
                                             IDENTIFYING INFORMATION, AND
17             Defendant.                    PRIVACY ACT INFORMATION

18                                           PROPOSED ORDER FILED SEPARATELY

19

20
          Plaintiff United States of America, by and through its counsel
21
     of record, the United States Attorney for the Central District of
22
     California and Assistant United States Attorneys Julia Hu and Andrew
23
     Roach, for the reasons set forth below, hereby applies ex parte for
24
     the entry of a protective order restricting the use and dissemination
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     of discovery containing information related to a confidential
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     informant or cooperating witness who may testify at trial, personal
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1    identifying information of third parties, and Privacy Act

2    information.

3         Defendant does not object generally to a protective order in

4    this matter or the ex parte nature of this application; however, he

5    objects to several provisions of the Protective Order, which are

6    described below.

7
     DATED: January 3, 2022                  TRACY L. WILKISON
8                                            United States Attorney

9                                            SCOTT M. GARRINGER
                                             Assistant United States Attorney
10
                                             Chief, Criminal Division
11

12                                            /s/
                                             JULIA HU
13                                           ANDREW ROACH
                                             Assistant United States Attorneys
14

15                                           Attorneys for Plaintiff
                                             UNITED STATES OF AMERICA
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1                      MEMORANDUM OF POINTS AND AUTHORITIES

2    I.   Introduction and Grounds for Protective Order

3         Defendant is charged with possession with intent to distribute

4    at least five grams of methamphetamine, in violation of 21 U.S.C.

5    §§ 841(a)(1), (b)(1)(B)(viii), and possession with intent to defraud

6    of at least fifteen unauthorized access devices, in violation of 18

7    U.S.C. § 1029(a)(3).

8         A protective order is necessary in this case because the

9    government intends to produce to the defense materials regarding a
10   confidential informant or cooperating witness who participated in the
11   government’s investigation and who may testify at trial.           These
12   materials, referred to as “CI Materials,” could be used to identify
13   the confidential informant or cooperating witness; accordingly, the
14   government believes that the unauthorized dissemination or
15   distribution of the materials may compromise the ability of such
16   person to participate effectively in future investigations in an
17   undercover capacity and/or may expose him/her to potential safety
18   risks.   The government will not be able to produce the remaining

19   discovery without revealing the confidential informant or cooperating

20   witness’s identity and/or personal identifying information.

21        A protective order is also necessary in this case because the

22   government intends to produce to the defense materials containing

23   third parties’ PII.    The government believes that disclosure of this

24   information without limitation risks the privacy and security of the

25   information’s legitimate owners.       Because the government has an

26   ongoing obligation to protect third parties’ PII, the government

27   cannot produce to defendant an unredacted set of discovery containing

28   this information without the Court entering the Protective Order.
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1    Moreover, PII makes up a significant part of the discovery in this

2    case and such information itself, in many instances, has evidentiary

3    value.   If the government were to attempt to redact all this

4    information in strict compliance with Federal Rule of Criminal

5    Procedure 49.1, the Central District of California’s Local Rules

6    regarding redaction, and the Privacy Policy of the United States

7    Judicial Conference, the defense would receive a set of discovery

8    that would be highly confusing and difficult to understand, and it

9    would be challenging for defense counsel to adequately evaluate the
10   case, provide advice to defendant, or prepare for trial.
11        An order is also necessary because the government intends to
12   produce to the defense materials that may contain information within
13   the scope of the Privacy Act, 5 U.S.C. § 552a (“Privacy Act
14   Information”).    To the extent that these materials contain Privacy
15   Act Information, an order is necessary to authorize disclosure
16   pursuant to 5 U.S.C. § 552a(b)(11).
17        The purpose of the Protective Order is to (a) allow the
18   government to comply with its discovery obligations while protecting

19   this sensitive information from unauthorized dissemination, and

20   (b) provide the defense with sufficient information to adequately

21   represent defendants.

22        The parties agree that a protective order should be entered in

23   this case.   However, defendant seeks to alter several key provisions

24   proposed by the government.      The respective positions of the parties

25   are set out below.     These terms have been approved and entered in

26   numerous cases in this district.       This Court should reject

27   defendant’s request and impose the government’s proposed protective

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1    order without modification.

2    II.   DEFINITIONS

3          Throughout the instant application and Proposed Protective Order

4    the following terms apply:

5               a.    “CI Materials” includes any information relating to a

6    confidential informant’s or cooperating witness’s prior history of

7    cooperation with law enforcement, prior criminal history, statements,

8    or any other information that could be used to identify a

9    confidential informant or cooperating witness, such as a name, image,
10   address, date of birth, or unique personal identification number,
11   such as a Social Security number, driver’s license number, account
12   number, or telephone number.
13              b.    “PII Materials” includes any information that can be
14   used to identify a person, including a name, address, date of birth,
15   Social Security number, driver’s license number, telephone number,
16   account number, email address, or personal identification number.
17              c.    “Confidential Information” refers to any document or
18   information containing CI Materials that the government produces to

19   the defense pursuant to this Protective Order and any copies thereof.

20              d.    “Defense Team” includes (1) defendants’ counsel of

21   record (“defense counsel”); (2) other attorneys at defense counsels’

22   law firm who may be consulted regarding case strategy in this case;

23   (3) defense investigators who are assisting defense counsel with this

24   case; (4) retained experts or potential experts; and (5) paralegals,

25   legal assistants, and other support staff to defense counsel who are

26   providing assistance on this case.          The Defense Team does not include

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1    defendants, defendants’ family members, or any other associates of

2    defendants.

3    III. PROPOSED TERMS OF THE PROTECTIVE ORDER

4         The government requests that the Court enter the Protective

5    Order, which will permit the government to produce Confidential

6    Information in a manner that preserves the privacy and security of

7    third parties.    The following conditions in the Protective Order will

8    serve these interests.

9         2.    Paragraph Seven states:
10              e.    The government is authorized to provide defense
11   counsel with Confidential Information marked with the following
12   legend: “CONFIDENTIAL INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE
13   ORDER.”    The government may put that legend on the digital medium
14   (such as DVD or hard drive) or simply label a digital folder on the
15   digital medium to cover the content of that digital folder.            The
16   government may also redact any PII contained in the production of
17   Confidential Information.
18              f.    If defendant objects to a designation that material

19   contains Confidential Information, the parties shall meet and confer.

20   If the parties cannot reach an agreement regarding defendant’s

21   objection, defendant may apply to the Court to have the designation

22   removed.

23              g.    Defendant and the Defense Team agree to use the

24   Confidential Information solely to prepare for any pretrial motions,

25   plea negotiations, trial, and sentencing hearing in this case, as

26   well as any appellate and post-conviction proceedings related to this

27   case.

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1               h.    The Defense Team shall not permit anyone other than

2    the Defense Team to have possession of Confidential Information,

3    including defendant, while outside the presence of the Defense Team.

4               i.    Notwithstanding the paragraph above, defendant may see

5    and review CI Materials only in the presence of defense counsel, and

6    defense counsel shall ensure that defendant is never left alone with

7    any CI Materials.     At the conclusion of any meeting with defendant at

8    which defendant is permitted to view CI Materials, defendant must

9    return any CI Materials to defense counsel, who shall take all such
10   materials with counsel.      Defendant may not take any CI Materials out
11   of the room in which defendant is meeting with defense counsel.                At
12   no time, under no circumstance, will any Confidential Information be
13   left in the possession, custody, or control of defendant, regardless
14   of defendant’s custody status.       If defense counsel wishes to enable
15   defendant to review CI Materials in the presence of any person on the
16   Defense Team other than defense counsel, defense counsel shall submit
17   a letter to government counsel of record identifying that person (the
18   “designated person”), and shall submit a copy of this stipulation

19   that has been signed by that designated person.          Upon receipt of

20   those materials, if the government, in its sole discretion, finds the

21   designated person acceptable, prior to the designated person

22   reviewing any CI Materials with defendant, government counsel of

23   record will confirm in writing that defendant is additionally allowed

24   to review CI Materials in the presence of the designated person.

25              j.    Defendant may review PII Materials only in the

26   presence of a member of the Defense Team, who shall ensure that

27   defendant is never left alone with any PII Materials.           At the

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1    conclusion of any meeting with defendant at which defendant is

2    permitted to view PII Materials, defendant must return any PII

3    Materials to the Defense Team, and the member of the Defense Team

4    present shall take all such materials with him or his.           Defendant may

5    not take any PII Materials out of the room in which defendant is

6    meeting with the Defense Team.

7               k.    Defendant may see and review Confidential Information

8    as permitted by this Protective Order, but defendant may not copy,

9    keep, maintain, or otherwise possess any Confidential Information in
10   this case at any time.     Defendant also may not write down or
11   memorialize any data or information contained in the Confidential
12   Information.
13              l.    The Defense Team may review Confidential Information
14   with a witness or potential witness in this case, including
15   defendant.   Defense counsel or a designated person meeting the
16   requirements set forth in ¶ 7(i) must be present whenever any CI
17   Materials are being shown to a witness or potential witness.            A
18   member of the Defense Team must be present if PII Materials are being

19   shown to a witness or potential witness.         Before being shown any

20   portion of Confidential Information, however, any witness or

21   potential witness must be informed of, and agree in writing to be

22   bound by, the requirements of the Protective Order.           No member of the

23   Defense Team shall permit a witness or potential witness to retain

24   Confidential Information or any notes generated from Confidential

25   Information.

26              m.    The Defense Team shall maintain Confidential

27   Information safely and securely, and shall exercise reasonable care

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1    in ensuring the confidentiality of those materials by (1) not

2    permitting anyone other than members of the Defense Team, defendant,

3    witnesses, and potential witnesses, as restricted above, to see

4    Confidential Information; (2) not divulging to anyone other than

5    members of the Defense Team, defendant, witnesses, and potential

6    witnesses, the contents of Confidential Information; and (3) not

7    permitting Confidential Information to be outside the Defense Team’s

8    offices, homes, vehicles, or personal presence.          CI Materials shall

9    not be left unattended in any vehicle.
10              n.    To the extent that defendant, the Defense Team,
11   witnesses, or potential witnesses create notes that contain, in whole
12   or in part, Confidential Information, or to the extent that copies
13   are made for authorized use by members of the Defense Team, such
14   notes, copies, or reproductions become Confidential Information
15   subject to the Protective Order and must be handled in accordance
16   with the terms of the Protective Order.
17              o.    The Defense Team shall use Confidential Information
18   only for the litigation of this matter and for no other purpose.

19   Litigation of this matter includes any appeal filed by defendant and

20   any motion filed by defendant pursuant to 28 U.S.C. § 2255.            In the

21   event that a party needs to file Confidential Information with the

22   Court or divulge the contents of Confidential Information in court

23   filings, the filing should be made under seal.          If the Court rejects

24   the request to file such information under seal, the party seeking to

25   file such information publicly shall provide advance written notice

26   to the other party to afford such party an opportunity to object or

27   otherwise respond to such intention.        If the other party does not

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1    object to the proposed filing, the party seeking to file such

2    information shall redact any CI Materials or PII Materials and make

3    all reasonable attempts to limit the divulging of CI Materials or PII

4    Materials.

5               p.    The parties agree that any Confidential Information

6    inadvertently produced in the course of discovery prior to entry of

7    the Protective Order shall be subject to the terms of the Protective

8    Order.   If Confidential Information was inadvertently produced prior

9    to entry of the Protective Order without being marked “CONFIDENTIAL
10   INFORMATION -- CONTENTS SUBJECT TO PROTECTIVE ORDER,” the government
11   shall reproduce the material with the correct designation and notify
12   defense counsel of the error.       The Defense Team shall take immediate
13   steps to destroy the unmarked material, including any copies.
14              q.    The parties agree that if any Confidential Information
15   contains both CI Materials and another category of Confidential
16   Information, the information shall be handled in accordance with the
17   CI Materials provisions of the Protective Order.
18              r.    Confidential Information shall not be used by the

19   defendant or Defense Team, in any way, in any other matter, absent an

20   order by this Court.      All materials designated subject to the

21   Protective Order maintained in the Defense Team’s files shall remain

22   subject to the Protective Order unless and until such order is

23   modified by this Court.      Within 30 days of the conclusion of

24   appellate and post-conviction proceedings, defense counsel shall

25   return CI Materials to the government or certify that such materials

26   have been destroyed.      Within 30 days of the conclusion of appellate

27   and post-conviction proceedings, defense counsel shall return all PII

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1    Materials, certify that such materials have been destroyed, or

2    certify that such materials are being kept pursuant to the California

3    Business and Professions Code and the California Rules of

4    Professional Conduct.

5               s.    In the event that there is a substitution of counsel

6    prior to when such documents must be returned, new defense counsel

7    must be informed of, and agree in writing to be bound by, the

8    requirements of the Protective Order before the undersigned defense

9    counsel transfers any Confidential Information to the new defense
10   counsel.   New defense counsel’s written agreement to be bound by the
11   terms of the Protective Order must be returned to the Assistant U.S.
12   Attorney assigned to the case.       New defense counsel then will become
13   the Defense Team’s custodian of materials designated subject to the
14   Protective Order and shall then become responsible, upon the
15   conclusion of appellate and post-conviction proceedings, for
16   returning to the government, certifying the destruction of, or
17   retaining pursuant to the California Business and Professions Code
18   and the California Rules of Professional Conduct all PII Materials

19   and (2) returning to the government or certifying the destruction of

20   all CI Materials.

21              t.    Defense counsel agree to advise defendant and all

22   members of the Defense Team of their obligations under the Protective

23   Order and ensure their agreement to follow the Protective Order,

24   prior to providing defendant and members of the Defense Team with

25   access to any materials subject to the Protective Order.

26         Accordingly, the government requests that the Court enter a

27   protective order in the form submitted herewith.

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1    IV.   ARGUMENT: THE COURT SHOULD ENTER THE GOVERNMENT’S PROPOSED
           PROTECTIVE ORDER
2
           Defendant does not object to the Court imposing a protective
3
     order in this matter.      However, government counsel and defense
4
     counsel have conferred regarding the Proposed Protective Order
5
     several times and were not able to reach a resolution on paragraphs
6
     7(e), 7(i), 7(j), 7(k), 7(l), and 7(o).         None of these objections has
7
     merit.     The provisions to which defendants object are necessary to
8
     protect the safety of cooperating witnesses and maintain the privacy
9
     rights of third parties.      These provisions do not impede the
10
     defendants’ ability to review discovery, and they are routinely
11
     entered by courts across this district.
12
           A.    Paragraph 7(e): The Government Should Be Permitted to
13               Redact PII from Protected Material
14         Defense counsel objects to the Proposed Protective Order because

15   it permits the government to redact PII contained in protected

16   material, arguing that this provision is unnecessary in light of the

17   rest of the Proposed Protective Order.         However, redacting

18   information with little evidentiary value does no harm, and can

19   significantly reduce the danger that could result from unauthorized

20   dissemination of CI Materials.       The government has an ongoing

21   obligation to protect third parties’ PII.         See, e.g., Privacy Act of

22   1974, 5 U.S.C. § 552a(b) (government cannot disclose any record

23   containing personal information unless the relevant person provides

24   consent or a limited set of exceptions apply).          Accordingly, the

25   government often will attempt to minimize the production of

26   identifying information (consistent with its discovery obligations)

27   to provide extra protection against dissemination of this

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1    information.    The government also has an obligation to redact law-

2    enforcement sensitive information, like FBI numbers.           Additionally,

3    some of the information the government intends to redact is not

4    relevant and is otherwise beyond the scope of the government’s

5    discovery obligations.      The government therefore requests that the

6    Court permit these redactions.

7          B.   Paragraphs 7(i), 7(j), 7(k): The Court Should Require
                Defense Counsel or a Designated Person to Be Present when
8               Reviewing CI Materials with Defendant or Any Witness

9          Paragraphs 7(i), 7(j), and 7(k) provide different requirements
10   for defendant’s handling of CI Materials and PII Materials.             The
11   defense proposes that the protective order be modified such that the
12   language in Paragraph 7(k) is applied to cover all types of
13   confidential information.
14         Because of concerns for witness safety, CI Materials should be

15   afforded a higher level of protection than PII Materials.            Therefore,

16   Paragraph 7(i) provides that defendant or a witness may review CI

17   Materials only in the presence of defense counsel or an approved

18   designated person, whereas Paragraph 7(j) provides that defendant or

19   witnesses may review PII Materials in the presence of any member of

20   the Defense Team.     As a courtesy to defense counsel, the government

21   has already included the more flexible version of Paragraph 7(i),

22   which permits defendant to view CI Materials in the presence of an

23   approved designated person or defense counsel.

24         Moreover, Paragraph 7(k) is a discrete requirement from

25   Paragraphs 7(i) and 7(j); it provides that the defendant may not copy

26   or in any way memorialize any Confidential Information (CI Materials

27   or PII Materials), while Paragraphs 7(i) and 7(j) set the terms for

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1    defendant’s access to CI Materials and PII Materials.

2          To the extent that defendant’s objection is to the limitation

3    that defendant and witnesses may see and review CI Materials only in

4    the presence of defense counsel, or, alternatively, a member of the

5    defense team who agrees to be bound by the terms of protective order,

6    the Court should reject defendant’s objection because an alternative

7    procedure would increase the risk of unauthorized dissemination of CI

8    Materials.    Limiting a defendant’s and defense witness’s access to CI

9    Materials is a critical component of safeguarding the identity of
10   cooperating witnesses and, in turn, ensuring their safety.            The risk
11   of unauthorized dissemination of CI Materials is greatest when a
12   defendant is accessing CI Materials because the defendant may know
13   the CI and may be motivated to retaliate against him/her for
14   cooperating with the government.        That same risk is present when
15   potential defense witnesses -- who may include family members, co-
16   conspirators, and associates of the defendant -- are accessing CI
17   Materials.    Accordingly, when a defendant or defense witness is
18   directly accessing CI Materials, the highest level of protection is

19   warranted.

20         In cases involving CI Materials, the government’s proposed

21   protective order typically permits only counsel of record to be

22   present when defendant is accessing the CI Materials because counsel

23   of record is the individual who is tasked with the ultimate

24   responsibility for ensuring compliance with the Protective Order.

25   This provision is standard in CI protective orders because defense

26   counsel has strict ethical duties and is an officer of the court,

27   which provides a greater assurance that the information will be

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1    adequately protected.      In addition, counsel of record will have to

2    answer to the Court in the event the Protective Order is violated.

3    It is therefore important for counsel of record to be present when

4    the risk to the cooperating witness is highest -- i.e., when

5    defendant is accessing the CI Materials.

6          As an accommodation to defense counsel in this case, the

7    government modified Paragraphs 7(i) and 7(l) to allow additional

8    members of the Defense Team to review CI Materials with defendant or

9    defense witnesses outside the presence of defense counsel, subject
10   only to a notice and approval requirement -- the “designated person”
11   language.    This minimal notice and approval procedure is necessary to
12   ensure that members of the defense team that review CI Materials with
13   a defendant or defense witnesses are equally as accountable as
14   defense counsel, which is paramount in ensuring that CI Materials are
15   handled carefully and not inadvertently disclosed to third parties.
16   This procedure places minimal burden on defense counsel.            Any burden
17   in requiring counsel of record or a designated person to be present
18   when defendant or defense witnesses are reviewing CI Materials is

19   warranted by the significant countervailing concerns for safety.

20         C.    Paragraph 7(l): The Requirement that Witnesses Agree in
                 Writing to the Terms of the Protective Order is Necessary
21               to Protect Witness Safety

22         Defendant objects to the requirement that potential witnesses

23   must agree in writing to be bound by the requirements of the

24   Protective Order prior to being shown any portion of the Confidential

25   Information as overly burdensome.        Defendant instead proposes that

26   potential witness be allowed to orally agree to be bound by the

27   requirements of the Protective Order.

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1          Requiring written consent to the requirements of the Protective

2    Order poses a minimal burden on the defense and is necessary to

3    ensure that individuals to whom Confidential Information is

4    conveyed -- who may include family members, co-conspirators, and

5    associates of the defendant -- are informed and understand that the

6    information is sensitive and confidential as set forth in the Order.

7    The entire purpose of the Protective Order is undermined if

8    individuals are not clearly and adequately informed of its terms; the

9    written acknowledgement reasonably advances that purpose.
10   Furthermore, without written agreement to be bound by the Protective
11   Order, there would be no potential consequences to an individual who
12   violates the Protective Order.       An oral agreement to abide by a
13   Protective Order is virtually unenforceable, thereby functionally
14   obviating the protections that are necessary to protect the safety of
15   a confidential source in the first place.
16         Confidential informants put their own personal safety at risk in
17   order to aid law enforcement in investigating cases; should the
18   government not be able to provide adequate protections to those

19   sources by, for example, limiting the public disclosure of a source’s

20   name until it is actually required in a case, law enforcement’s

21   ability to procure cooperation from such sources in the future may be

22   impeded.

23         The reasonable writing requirement has been consistently upheld

24   by courts in this district despite defense objections.            See, e.g.,

25   United States v. Lugo-Sanchez et al., No. CR 21-142-MCS, Dkt. 36 at

26   4-5 (Confidential Informant (“CI”) Materials); United States v.

27   Chacon, No. CR 20-135-ODW, Dkt. 27 at 5 (CI Materials); United States

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1    v. Gallardo, No. 20-141-DSF, Dkt. 27 at 5 (CI Materials); United

2    States v. Hovhannisyan, No. 19-411-GW, Dkt. 22 (personal financial

3    information); United States v. Sexton, No. CR 19-781-MWF, Dkt. 43 (CI

4    Materials); United States v. Reyes, CR 19-740-CJC, Dkt. 24 (CI

5    Materials); United States v. Monteagudo, No. CR 19-690-ODW-2, Dkt. 30

6    (CI Materials); United States v. Arredondo, No. CR 19-582-JAK, Dkt.

7    23 (CI Materials); United States v. Ramirez, No. CR 17-17(A)-JLS-1,

8    Dkt. 173 (CI Materials).

9          Courts in this district have also issued protective orders with
10   the same “in writing” requirement sought here in cases involving PII
11   Materials. See, e.g., United States v. Nezhadian, No. CR 18-829-ODW,
12   Dkt. 18 (personal identifying information); United States v.

13   Rodriguez, No. CR 18-268-PA, Dkt. 22 (personal identifying

14   information); United States v. Hernandez, No. 20-487-MCS, Dkt. 24

15   (personal identifying information).

16         D.   Paragraph 7(o): Redaction of Publicly Filed Materials

17         Paragraph 7() provides a procedure for the filing of

18   Confidential Information with the Court.         Pursuant to that procedure,

19   parties are first to seek leave of the Court to file Confidential

20   Information under seal.      Should the Court reject such a request, the

21   party seeking to publicly file the Confidential Information shall

22   give written notice to the other party of its intention to do so and

23   redact any CI Materials or PII Materials from the filing.            Defendant

24   objects to the Proposed Protective Order’s requirement that “If the

25   other party does not object to the proposed filing, the party seeking

26   to file such information shall redact any CI Materials or PII

27   Materials and make all reasonable attempts to limit the divulging of

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1    CI Materials or PII Materials” as superfluous.          The defense suggests

2    that the notice and objection process will be used to determine which

3    material needs to be redacted.         However, the plain language of the

4    notice-and-objection requirement does not require the filing party to

5    redact CI and PII Materials.       Thus, the redaction requirement still

6    has independent significance and should be entered as part of the

7    protective order.

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